
71 Cal.Rptr.3d 251 (2008)
175 P.3d 2
PEOPLE
v.
GARCIA (Anthony).
No. S157870.
Supreme Court of California.
January 3, 2008.
Review granted/briefing deferred (8.512(d)(2) criminal case).
Further action in this matter is deferred pending consideration and disposition of a related issue in People v. Ramirez, S156775 (see Cal. Rules of Court, rule 8.512(d)(2)), or pending further order of the court. Submission of additional briefing, pursuant to California Rules of Court, rule 8.520, is deferred pending further order of the court.
GEORGE, C.J., and KENNARD, BAXTER, CHIN, MORENO, and CORRIGAN, JJ., concur.
WERDEGAR, J., was absent and did not participate.
